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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.: 1:18-cv-23320-KMW

  CHRISTOPHER DWECK,

                Plaintiff,

  vs.

  CITY OF MIAMI SPRINGS, SERGEANT
  ALBERT SANDOVAL, AND UNKNOWN
  CITY OF MIAMI SPRINGS POLICE
  OFFICERS,

                Defendants.
                                                     /

          DEFENDANT, CITY OF MIAMI SPRINGS’, MOTION TO DISMISS
        PLAINTIFF’S COMPLAINT AND TO STRIKE REQUEST FOR PUNITIVE
             DAMAGES AND SUPPORTING MEMORANDUM OF LAW

          COMES NOW, Defendant, CITY OF MIAMI SPRINGS (“City” or “Defendant”), by

  and through its undersigned attorneys, and pursuant to Federal Rule of Civil Procedure

  12(b)(6), moves this Honorable Court for the entry of an order dismissing the Complaint [DE

  1] filed by Plaintiff Christopher Dweck (“Plaintiff”) and striking Plaintiff’s request for

  punitive damages, and as grounds states:

  I.      Introduction

          1.    Plaintiff alleges that the City deprived him of his right to be free from an illegal

  search and seizure by subjecting him to a drug test following his involvement in a hit and run

  accident while he was on duty and that the City further unlawfully disseminated the results

  of the drug test. [DE 1], generally.
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         2.      Plaintiff has asserted a municipal liability claim against the City (Count I)

  under 42 U.S.C. § 1983 and has further sued the City for declaratory relief (Count IV). 1

         3.      Count I fails to state a valid claim upon which relief can be granted for

  violation of Plaintiff’s constitutional rights.

         4.      In addition, both claims are barred because Plaintiff failed to exhaust requisite

  remedies set forth by the CBA.

         5.      As to the claim for declaratory relief, Plaintiff lacks standing seek a declaration

  of his rights as he is no longer an employee of the City and therefore has no rights under the

  governing collective bargaining agreement (“CBA”).

         6.      Finally, Plaintiff’s request for punitive damages against the City must be

  stricken.

  II.    Memorandum of Law

         A.      No valid 42 U.S.C. § 1983 municipal liability claim (Count I)

         Section 1983 permits a civil cause of action for any person deprived of any rights,

  privileges, or immunities secured by the Constitution and other laws by another person acting

  under color of law. This statute “‘is not itself a source of substantive rights,’ but merely


         1
            Plaintiff has also asserted a 42 U.S.C. § 1983 individual liability claim against Sergeant
  Albert Sandoval (Count II). Sergeant Sandoval has simultaneously moved to dismiss that claim.
  In Count III, Plaintiff alleges that “unknown [City] police officers violated Plaintiff’s“Fourteenth
  Amendment privacy rights...” See Count III of [DE 1]. That claim is impossible to respond to as
  Plaintiff entirely failed to identify the individuals that were purportedly involved in the
  wrongdoing and the extent to which such individuals were involved. Fed. R. Civ. P. 8(a)(2);
  Kyle v. Chapman, 208 F. 3d 940, 944 (11th Cir. 2000). Count III should therefore be stricken or
  Plaintiff should be required to plead a more definite statement. To the extent that Plaintiff is
  attempting to assert substantive and/or procedural due process violations under the Fourteenth
  Amendment against the City, the City moves for a more definite statement with respect to such
  claim(s).
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  provides ‘a method for vindicating federal rights elsewhere conferred.’” Albright v. Oliver,

  510 U.S. 266, 271, (1994); see also Whiting v. Traylor, 85 F.3d 581, 583 (11th Cir. 1996)

  (“Section 1983 is no source of substantive federal rights.”) (emphasis added).

         To state a claim under 42 U.S.C. § 1983, a plaintiff must establish: “(1) that the act

  or omission deprived plaintiff of a right, privilege or immunity secured by the Constitution

  or laws of the United States, and (2) that the act or omission was done by a person acting

  under color of law.” Marshall Cty. Bd. of Educ. v. Marshall Cty. Gas Dist., 992 F.2d 1171,

  1174 (11th Cir. 1993) (quoting Bannum, Inc. v. City of Ft. Lauderdale, 901 F.2d 989 (11th

  Cir. 1990)). “The first step in any such claim [under 42 U.S.C. § 1983] is to identify the

  specific constitutional right allegedly infringed.” Albright, 510 U.S. at 271.

                1.      No unlawful search or seizure regarding drug test

         The crux of Plaintiff’s complaint hinges upon Plaintiff’s belief that he was improperly

  subjected to a drug test in the absence of reasonable suspicion after he was struck by a hit and

  run driver in his police car while on duty. [DE 1], generally. The CBA specifically provides

  that the City’s Drug Free Workplace Policy - Administrative Order 94-7- was “adopted by

  the City pursuant to the provisions of Chapter 440.102 Florida Statutes and Chapter 38F-9

  of the Florida Administration Code.” See CBA at pg. 66.

         In turn, Fla. Stat. 440.102, which provides for Florida’s Drug-Free Workplace

  Program requirements, states in relevant part:

         “Reasonable-suspicion drug testing” means drug testing based on a belief that
         an employee is using or has used drugs in violation of the employer's policy
         drawn from specific objective and articulable facts and reasonable inferences
         drawn from those facts in light of experience. Among other things, such facts
         and inferences may be based upon:
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         5. Information that an employee has caused, contributed to, or been involved
         in an accident while at work.

         Fla. Stat. § 440.102(n) (emphasis added).

         In Hudson v City of Riviera Beach, 2014 WL 1877412, at *5-6 (S.D. Fla. May 9,

  2014), the plaintiff employee alleged, in part, that the defendant city’s drug policy did not

  contain a definition for “reasonable suspicion” and that he was improperly subjected to a

  drug test. The Court rejected the plaintiff’s arguments and dismissed his 42 U.S.C. § 1983

  Monell claim against the city accordingly. Id. at 6, 14. In dismissing the U.S.C. § 1983

  Monell claim, the Hudson Court specifically acknowledged that the defendant city’s drug

  policy was adopted pursuant to the provisions of § 440.102, Fla. Stat. and declined to impose

  § 1983 Monell liability against the city on the basis that the policy itself was unconstitutional.

   Id. at 5-6. The Court further concluded that:

         Although Hudson attempts to challenge the policy itself, it is evident that
         Hudson's claims primarily stem from the fact that the individual Defendants
         purportedly did not comply with the drug policy's reasonable-suspicion
         requirement in ordering that Hudson be tested. But Defendants' failure to
         abide by the policy provides no basis for establishing liability against the City,
         as this would amount to nothing more than a respondeat superior theory of
         liability, which the Supreme Court expressly rejected in Monell. Since the
         factual allegations in the Second Amended Complaint fail to show that the
         drug policy itself was unconstitutional, the Court declines to impose liability
         on the City on this basis.

         Sub judice, Plaintiff affirmatively alleges that he was “involved in a hit and run

  accident while he was on duty” and “while on a traffic call accident.” [DE 1] at ¶¶ 10-11.

  The CBA explicitly incorporates the provisions of § 440.102, Fla. Stat., which enumerates

  the notion that reasonable suspicion drug testing may be based on the fact that an employee

  was “involved in an accident while at work.” Fla. Stat. § 440.102(n). And the Plaintiff has
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  failed to allege how the City’s drug testing policy was otherwise unconstitutional.2

         As Plaintiff was “involved” in an accident while he was on duty, the subsequent drug

  test relating to this accident does not constitute an unlawful search or seizure under the

  Fourth Amendment. Count I should be dismissed.

                 2.     No constitutional violation regarding dissemination of drug test
                        results

         Plaintiff has further failed to allege any facts related to the exact constitutional right

  that he believes was infringed upon by the City regarding the City’s purported “unlawful”

  dissemination of his drug test results. [DE 1], generally. Because the Complaint is devoid

  of any allegations addressing the specific constitutional right at issue regarding such alleged

  dissemination (and any facts establishing how, to whom, or when the information was

  allegedly disseminated), Count I should be dismissed.

                 3.     No unconstitutional policy or custom alleged

         In addition, the City can only be liable under § 1983 “when execution of [its] policy

  or custom, whether made by its lawmakers or by those whose edicts or acts may fairly be

  said to represent official policy, inflicts the injury . . . .” of which Plaintiff complains.

  Monell v. Dep’t. of Social Services, etc., 436 U.S. 658, 691 (1978); Mercado v. City of

  Orlando, 407 F.3d 1152 (11th Cir. 2005); Sewell v. Town of Lake Hamilton, 117 F.3d 488,

  489 (11th Cir. 1997). To establish the City’s § 1983 liability based on a “custom,” Plaintiff


         2
           It is largely unclear whether Plaintiff is even contending that the City’s policy is
  unconstitutional as a whole or whether he is simply contending that the City did not comply with
  its policy when it drug tested him following his involvement in an accident while on duty. Either
  way, as discussed supra and infra, Plaintiff cannot maintain a viable Monell claim against the
  City.
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  must allege facts establishing an unconstitutional practice so widespread that, “although not

  authorized by written law or express municipal policy,” it is “so permanent and well settled

  as to constitute a custom or usage with the force of law.” Brown v. City of Fort Lauderdale,

  923 F. 2d 1474, 1481 (11th Cir. 1991). The allegations must reflect a practice so “long-

  standing and widespread,” that it can be “deemed authorized by the policy-making officials

  because they must have known about it but failed to stop it.” Id.

         A failure to prevent an isolated incident, however, cannot be deemed tacit approval.

  “Random or isolated incidents are insufficient to establish a custom or policy.” Depew v.

  City of St. Mary’s, 787 F. 2d 1496, 1499 (11th Cir. 1986); Owaki v. City of Miami, 491 F.

  Supp. 2d 1140, 1158 (S.D. Fla. 2007).

         Plaintiff’s Complaint is devoid of any allegations of fact establishing a long-standing

  City custom or policy of conducting improper drug tests on its police officers. While the

  Complaint generally alleges that the City has a “de facto policy to drug test police officers

  without reasonable suspicion” and identifies other City police officers by name who

  allegedly have been subjected to drug testing, it does not cite to a single incident similar to

  the incident Plaintiff complains of. [DE 1] at ¶¶ 31-32.3 Plaintiff has proffered no facts which

  would establish that any City policy or custom was the “moving force” behind Plaintiff’s

  purported constitutional deprivation as required by Monell, supra. The §1983 claim against

  the City must be dismissed.

         3
           The same holds true for the Plaintiff’s blanket allegation that the City has a “de facto
  policy to disseminate confidential drug test results.” [DE 1] at ¶ 33. Even if the purported
  dissemination of drug test results infringed upon a constitutional right (it does not), Plaintiff has
  failed to set forth any factual detail regarding a purported custom or policy of dissemination.
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                  4.     No § 1983 “failure to train” claim stated

           Plaintiff has only conclusorily alleged that the City “failed to adequately train police

  officers that suspicion-less drug testing is unlawful...” [DE 1] at ¶ 33. The appearance of the

  requisite “buzz words” aside, Plaintiff has failed to state a viable §1983 “failure to train”

  claim.

           The City “is not automatically liable under § 1983 even if it inadequately trained or

  supervised its police officers and those officers violated [the plaintiffs’] constitutional rights.

  Instead, the Supreme Court has explained that there are only ‘limited circumstances’ in

  which an allegation of a failure to train or supervise can be the basis for liability under §

  1983.” Gold v. City of Miami, 151 F.3d 1346, 1350 (11th Cir. 1998)(emphasis added), citing

  City of Canton v. Harris, 489 U.S. 378, 387 (1989). “These ‘limited circumstances’ occur

  only where the municipality inadequately trains or supervises its employees, this failure to

  train or supervise is a city policy, and that city policy causes the employees to violate a

  citizen’s constitutional rights.” Gold, 151 F.3d at 1350-51; citing Harris, 489 U.S. at 389-91;

  Kerr v. City of West Palm Beach, 875 F.2d 1546, 1555 (11th Cir. 1989); Board of County

  Comm’rs v. Brown, 520 U.S. 397 (1997).

           “A plaintiff may prove a city policy by showing that the municipality’s failure to train

  evidenced a ‘deliberate indifference’ to the rights of its inhabitants.” Gold, 151 F.3d at 1351-

  52; citing Harris, 489 U.S. at 388-89. “To establish a ‘deliberate or conscious choice’ or

  such ‘deliberate indifference,’ a plaintiff must present some evidence that the municipality

  knew of a need to train or supervise in a particular area and the municipality made a
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  deliberate choice not to take any action.” Gold, 151 F.3d at 1351-52; citing Board of County

  Comm’rs v. Brown, 520 U.S. 397 (1997); Young v. City of Augusta, 59 F.3d 1160, 1171-72

  (11th Cir.1995); Church v. City of Huntsville, 30 F.3d 1332, 1342-46 (11th Cir.1994);

  Wright v. Sheppard, 919 F.2d 665, 674 (11th Cir.1990); Kerr v. City of West Palm Beach,

  875 F.2d 1546, 1556-57 (11th Cir.1989).

         The Eleventh Circuit “repeatedly has held that without notice of a need to train or

  supervise in a particular area, a municipality is not liable as a matter of law for any failure

  to train and supervise.” Gold, 151 F.3d at 1351-54 (claim under §1983 invalid in the absence

  of prior constitutional violations involving disorderly conduct statute); Church v. City of

  Huntsville, 30 F.3d 1332, 1342-46 (11th Cir.1994) (plaintiffs not likely to succeed on the

  merits of failure-to-train claim without proof that municipality was aware of a prior incident

  in which constitutional rights were similarly violated); Popham v. City of Talladega, 908

  F.2d 1561, 1564-65 (11th Cir.1990) (finding no liability for failure to train when no pattern

  of incidents put municipality on notice of a need to train); Wright v. Sheppard, 919 F.2d 665,

  674 (11th Cir.1990) (sheriff’s department not liable for deputy’s acts when “no evidence of

  a history of widespread prior abuse ... put the sheriff on notice of the need for improved

  training or supervision”); Brooks v. Scheib, 813 F.2d 1191, 1193 (11th Cir.1987) (ten

  citizen complaints about defendant officer insufficient to put municipality on notice because

  plaintiff “never demonstrated that past complaints of police misconduct had any merit”).

         Sub judice, Plaintiff’s Complaint contains no allegations of similar incidents and

  purported resulting constitutional violations to establish a known need for training. Plaintiff
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  does not allege any widespread problem involving improper drug testing. He merely alleges

  that other officers have been “tested without reasonable suspicion” without providing any

  factual detail whatsoever regarding these generalized purported incidents. These allegations

  are simply insufficient to show that the City was on notice of a need to train and deliberately

  chose not to act. Count I should be dismissed.

         B.     Plaintiff failed to exhaust remedies under the CBA (Counts I and IV)

         Both of Plaintiff’s claims are barred because Plaintiff failed to exhaust grievance

  remedies specifically enumerated by the CBA. “[A]n employee is required to attempt to

  exhaust any grievance or arbitration remedies provided in the collective bargaining

  agreement.” DelCostello v. Int'l Bhd. of Teamsters, 462 U.S. 151, 163 (1983); Dixon v. Pub.

  Health Tr. of Dade Cty., 567 F. App'x 822, 827 (11th Cir. 2014) (“As a general rule,

  plaintiffs claiming breach of a collective bargaining agreement or wrongful termination of

  employment by their employer are bound by that agreement's terms providing a method for

  resolving disputes between them and their employer.”); Glover v. St. Louis-San Francisco

  Ry. Co., 393 U.S. 324, 330 (1969) (“[I]t is settled that the employee must at least attempt to

  exhaust exclusive grievance and arbitration procedures established by the bargaining

  agreement...”).

         Sub judice, Plaintiff explicitly acknowledges that his [former] employment with the

  City arises under the CBA. [DE 1] at ¶¶ 9, 27. Article 17 of the CBA, titled “Grievance and

  Arbitration Procedures” provides that Plaintiff must adhere to the grievance process set forth

  by the CBA involving any “application or interpretation of [the CBA]” and as related to “a
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   dispute about alleged violations of this [CBA].” See CBA at Article 17, pgs. 22-26.4

          Article 38 of the CBA governs the City’s implementation of toxicology and alcohol

   testing of City police officers - including Plaintiff. See CBA at Article 38, pgs. 65-67.

   Article 38 specifically provides that “all disputes arising out of the implementation of this

   article will be pursued under Article [17] 5 of the agreement.” See CBA at pg. 66.

          Again, Plaintiff alleges that he was improperly subjected to a drug test following his

   “involve[ment]” in a hit and run automobile accident on October 8, 2017 and “without

   reasonable suspicion” for the test. [DE 1] at ¶¶ 10, 14, 31. Plaintiff further alleges that his

   drug test results were improperly disseminated to “other police officers and unknown

   persons.” Id. at ¶ 23. Under the CBA, Plaintiff was therefore required to arbitrate his qualms

   regarding the City’s implementation of its drug testing policy against him in accordance with

   Articles 17 and 38 of the CBA. There are no allegations in the Complaint that Plaintiff did

   so (and he did not). [DE 1], generally. As Plaintiff failed to exhaust requisite grievance

   remedies enumerated by the CBA prior to bringing suit, Counts I and IV should be

   dismissed.




          4
           Plaintiff attaches the CBA to his Complaint. See Exhibit 4 to the Complaint; [DE 1] at ¶
   60. The CBA is therefore part of the Complaint “for all purposes.” Fed.R.Civ.P. 10(c);
   Solis–Ramirez v. U.S. Dep't of Justice, 758 F.2d 1426, 1430 (11th Cir.1985) (per curiam)
   (“Under Rule 10(c) Federal Rules of Civil Procedure, such attachments are considered part of
   the pleadings for all purposes, including a Rule 12(b)(6) motion.”).
          5
            The CBA refers to Article 15 as the governing mechanism to pursue disputes arising out
   of Article 38. Article 15 is a savings clause regarding employee benefits. It is presumed that such
   notation is merely a typographical error.
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          C.     Plaintiff lacks standing to pursue declaratory relief (Count IV)

          Plaintiff seeks a declaration that the City “failed to adhere to its drug testing

   requirements,” that his “drug test results from October 8, 2017 are inconclusive,” and that

   “the City be prohibited from disseminated [sic] Plaintiff’s medical records...”[DE 1] at ¶ 61.

   Plaintiff further alleges that the City6 failed to adhere to its specific procedures “regarding

   the confirmation of the drug test result agreed to by virtue of the collective bargaining

   agreement.” Id. at ¶ 60.

          An aggrieved worker whose employment is governed by a collective bargaining

   agreement which establishes mandatory, binding grievance procedures and gives the union

   the exclusive right to pursue claims on behalf of aggrieved employees normally lacks

   standing independently to initiate grievance procedures, to sue for breach of the collective

   bargaining agreement, or to attack in court the results of the grievance process. McNair v.

   U.S. Postal Service, 768 F.2d 730, 735 (5th Cir.1985) (“It is established that, if the union

   breached its duty of fair representation ... [h]e may sue his employer or his union or both

   but, in order to recover, he must prove that the union breached its duty of fair representation

   and that the employer breached the collective bargaining agreement.”).

          Sub judice, Plaintiff was terminated by the City. [DE 1] at ¶ 9. Plaintiff therefore has

   no standing to pursue any declaratory relief regarding purported rights under the CBA and




          6
           Plaintiff refers to the “City of Miami Police Department” rather than the City of Miami
   Springs within Count IV. See [DE 1] at ¶¶ 57-60. It is presumed that this is a typographical
   error.
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   has no standing to sue the City regarding the implementation of it its drug policy as applied.7

   Count IV should be dismissed.

             D.    No punitive damages

             A municipality is immune from punitive damages unless expressly authorized by

   statute. See City of Newport v. Fact Concerts, Inc., 453 U.S. 247, 260 (1981) (punitive

   damages are not recoverable against a municipality in a 42 U.S.C. § 1983 suit). Plaintiff’s

   requests for an award of punitive damages are improper and should be stricken. [DE 1] at ¶¶

   40, 53.

             WHEREFORE, the Defendant, CITY OF MIAMI SPRINGS, respectfully requests

   entry of an Order dismissing Counts I and IV of the Complaint filed by Plaintiff,

   CHRISTOPHER DWECK, and striking Plaintiff’s requests for punitive damages against the

   City, together with such further relief deemed just and proper.




             7
           Likewise, even if Plaintiff had rights under the CBA still (he does not), “only the Union
   may file a grievance on behalf of a member of the bargaining unit...”See CBA at Article 17, pg.
   22. There are also no allegations that any duty of fair representation was breached. [DE 1],
   generally.
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                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 12th day of September, 2018, I electronically filed
   the foregoing document with the Clerk of Court by using the CM/ECF system or by email
   to all parties. I further certify that I either mailed the foregoing document and the Notice of
   Electronic Filing by first class mail to any non CM/ECF participants and/or the foregoing
   document was served via transmission of Notice of Electronic Filing generated by CM/ECF
   to any and all active CM/ECF participants.


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